Case 1:19-cv-00218-WYD Document 1 Filed 01/25/19 USDC Colorado Page 1 of 15




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


Civil Action No. 1:19-cv-218


STEVEN BALDWIN, individually;


        Plaintiff;
v.


COLORADO STATE UNIVERSITY SYSTEM;
COLORADO STATE UNIVERSITY, a subdivision of COLORADO STATE UNIVERSITY
SYSTEM;
AUDREY SHILLINGTON, in her official capacity as Director and Professor at the School of
Social Work at Colorado State University;
TONY FRANK, in his official capacity as President and Chancellor of Colorado State
University;


        Defendants.




                          COMPLAINT WITH JURY DEMAND



     Plaintiff, Steven Baldwin (“Baldwin”), who appears individually, hereby respectfully files

this action against Defendants Colorado State University (“CSU”), Audrey Shillington

(“Shillington) and Tony Frank (“Frank”), through the undersigned counsel of record, Igor

Raykin of Kishinevsky & Raykin, Attorneys and Counselors at Law, and states on information

and belief as follows.




                                                                                                  1
Case 1:19-cv-00218-WYD Document 1 Filed 01/25/19 USDC Colorado Page 2 of 15




                                    I. NATURE OF THE CASE

       This action seeks redress under state and federal law for a Plaintiff who is a decorated

combat veteran. Plaintiff was deprived through the Defendants’ wrongful actions of a Ph.D. in

social work, which he was pursuing as his calling to assist his fellow veterans in dealing with the

often devastating consequences of military service.




                                II. JURISDICTION AND VENUE
1. Plaintiff Steven Baldwin (herein “Mr. Baldwin”) is a resident of Fort Collins, Colorado.

2. Defendant Colorado State University (herein “CSU” or “university”) is a public university

   located in Fort Collins, Colorado.

3. Based on information and belief, all of the individual Defendants are Colorado residents.

4. The wrongful acts alleged by the Plaintiff occurred in whole or in part in Larimer County.

5. The court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 and supplemental

   jurisdiction under 28 U.S.C. § 1367.

6. Venue is proper in the District of Colorado pursuant to 28 U.S.C. § 1391(b) because the

   wrongful conduct alleged herein occurred in this state.


                                   III. BACKGROUND FACTS
7. Mr. Baldwin is a decorated combat veteran of the U.S. Army. He began active duty in 1996

   and was honorably discharged in 1997. He also served additional duty beginning in 2003

   and was honorably discharged in 2005.




                                                                                                  2
Case 1:19-cv-00218-WYD Document 1 Filed 01/25/19 USDC Colorado Page 3 of 15




8. As a result of his service, Mr. Baldwin has suffered various disabilities. These disabilities

   include but are not limited to chronic fatigue syndrome, left knee patellofemoral syndrome,

   right knee patellofemoral syndrome, headaches associated with PTSD with associate

   depression to include traumatic brain injury, PTSD with associated depression to include

   traumatic brain injury, thoracolumbar spine, bipolar or additional Axis II personality

   disorders, irritable bowel syndrome and tinnitus.

9. Mr. Baldwin began attending CSU in the Fall of 2014 and was enrolled in the university’s

   Ph.D social work program.

10. CSU has been aware of Mr. Baldwin’s disabilities since he applied for the social work

   program. Included in his application was decision dated April 20, 2013, from the

   Department of Veterans Affairs addressing his “chronic fatigue as secondary to the service-

   connected disability of posttraumatic stress disorder with associated depression to include

   traumatic brain injury” and “bipolar or additional Axis II personality disorders”, among

   other medical issues.

11. On or about June 24, 2016, there was an off-campus incident wherein Mr. Baldwin defended

   himself from a violent physical attack by another student. In August of 2016, Mr. Baldwin

   was criminally charged in relation to this incident. However, this charge was later dismissed

   by the District Attorney, because the evidence demonstrated that Mr. Baldwin was actually

   the victim of an unprovoked assault for which he was only defending himself.

12. Melissa Emerson at CSU’s Conflict Resolution and Student Conduct Services sent Mr.

   Baldwin a notice, dated August 2, 2016, informing him that she had received a report from

   CSU’s Office of Support and Safety Assessment describing Mr. Baldwin’s involvement in

   the June 24, 2016, incident. Ms. Emerson stated that it appeared that Mr. Baldwin may have

   violated the following provisions of CSU’s Student Code of Conduct:



                                                                                                   3
Case 1:19-cv-00218-WYD Document 1 Filed 01/25/19 USDC Colorado Page 4 of 15




           •    4 – Disruption or obstruction of administration or disciplinary proceedings, or
                participation in an activity that disrupts normal University activities, and/or
                threatens property or bodily harm or intentionally interferes with the right of
                access to University facilities or freedom of movement of any person on campus.
           •    6 – Physical abuse.
           •    6 – Verbal abuse.
           •    6 – Threats.
           •    6 – Intimidation.
           •    15 – Evidence of violation or conviction of any federal or state law or local
                ordinance.

   Ms. Emerson notified Mr. Baldwin that his disciplinary hearing had been scheduled for

   August 5, 2016.

13. Mr. Baldwin attended the August 5, 2016, disciplinary hearing, and explained that he was the

   victim of a violent and unprovoked attack by the purported victim, which was later

   confirmed by the District Attorney when it dismissed the charges against Mr. Baldwin.

14. CSU subsequently suspended Mr. Baldwin from the Ph.D. social work program on or

   around August 18, 2016.

15. On August 20, 2016, Mr. Baldwin appealed his suspension from CSU. In his appeal, Mr.

   Baldwin explained that he had “been diagnosed with PTSD at a 100% disability rating from

   the Department of Veterans Affairs and live with the effects of TBI traumatic brain injury

   since my honorable discharge from active duty in 2005.” His official medical diagnosis and

   files from the Veterans Administration, as well as character witnesses, achievements, CV and

   letters of recommendation were included with the appeal. Mr. Baldwin also explained in his

   appeal letter that when he was attacked by the other student, his “fight or flight responses

   kicked in and I felt at that moment I was fighting for my life and in imminent danger.”

16. Mr. Baldwin subsequently received a letter from CSU, dated August 24, 2016, granting him

   an appeal.




                                                                                                  4
Case 1:19-cv-00218-WYD Document 1 Filed 01/25/19 USDC Colorado Page 5 of 15




17. In a letter dated January 25, 2017, the CSU School of Social Work refused to readmit Mr.

   Baldwin into his Ph.D. program. In its letter denying readmission, CSU made no mention of

   Mr. Baldwin’s disabilities or any proposal to accommodate his disability-related needs.

18. Mr. Baldwin subsequently provided CSU with a letter dated March 30, 2017, from his

   criminal defense attorney stating “The charges should never have been filed against Mr.

   Baldwin and this is evident in the fact that the District Attorney dismissed that case against

   Mr. Baldwin. In other words, all charges against Mr. Baldwin were dropped.” Included with

   this letter was proof that the case against Mr. Baldwin was dismissed.

19. Mr. Baldwin also sought accommodations from CSU in March of 2017, including

   readmission into the program.

20. In a letter from CSU dated March 20, 2017, CSU acknowledged that Mr. Baldwin was

   entitled to receive accommodations based on his disabilities. However, since CSU still

   refused to readmit Mr. Baldwin these accommodations were meaningless.

21. Despite acknowledging Mr. Baldwin’s disabilities and receiving proof that the charges were

   dismissed, CSU refused to readmit Mr. Baldwin.

   Therefore, even though the only material evidence supporting Mr. Baldwin’s suspension—

   the criminal charges—was later proven to be of zero probative value and wholly irrelevant to

   any violation of school policies cited by CSU to support its disciplinary action, it continued

   to reaffirm that flawed and unsupported action.




         IV. CLAIMS AND CAUSES OF ACTION – AGAINST ALL DEFENDANTS
                         A.    FIRST CLAIM FOR RELIEF
            (SECTION 1983 FOR VIOLATION OF CONSTITUTIONAL RIGHTS)

22. Plaintiff reincorporates and realleges all other paragraphs as if fully set forth herein.




                                                                                                    5
Case 1:19-cv-00218-WYD Document 1 Filed 01/25/19 USDC Colorado Page 6 of 15




23. 42 U.S.C. § 1983 provides that: “Every person, who under color of any statute, ordinance,

   regulation, custom or usage of any state or territory or the District of Columbia subjects or

   causes to be subjected any citizen of the United States or other person within the jurisdiction

   thereof to the deprivation of any rights, privileges or immunities secured by the constitution

   and law shall be liable to the party injured in an action at law, suit in equity, or other

   appropriate proceeding for redress. . .”

24. Plaintiff is a citizen of the United States and Defendants are persons for the purposes of 42

   U.S.C. § 1983.

25. At all relevant times Defendants were acting under the color of state law in their capacity as

   employees at a public university.

26. As the alleged conduct occurred during school hours, Defendants’ acts were conducted

   within the scope of their employment.

27. The Equal Protection Clause requires states to treat an individual in the same manner as

   others in similar conditions and circumstances.

28. Plaintiff had a significant property interest in continuing his education at CSU, which entitled

   him to Due Process prior to his dismissal.

29. The Equal Protection Clause requires states to treat an individual in the same manner as

   others in similar conditions and circumstances.

30. As a state actor, CSU is subject to Constitutional requirements under the Fourteenth

   Amendment to the U.S. Constitution, governing any deprivation of a life, liberty, or property

   interest, and must provide adequate procedural safeguards before any such deprivation

   occurs.




                                                                                                     6
Case 1:19-cv-00218-WYD Document 1 Filed 01/25/19 USDC Colorado Page 7 of 15




31. CSU removed Mr. Baldwin completely from the Ph.D. program and has refused to readmit

   him, and has therefore engaged in a complete and permanent deprivation of his property

   interest in continuing his education at a public university.

32. The procedural protections require, at a minimum, fair notice, an opportunity to be heard, and

   procedures necessary to “avoid unfair or mistaken findings of misconduct and arbitrary

   exclusions from school.” Goss v. Lopez, 419 U.S. 565, 581 (1975).

33. Those procedural protections apply not only to the initial deprivation of a protected life,

   liberty, or property interest, but also to any appeals or allowed requests for reinstatement of

   those interests.

34. In removing Mr. Baldwin based upon mere unsupported criminal charges, then refusing to

   readmit him even after those criminal charges were dismissed, CSU engaged in a procedural

   Due Process violation, in addition to violation of Equal Protection.

35. As a direct and proximate result of Defendants’ conduct, Plaintiff was deprived of his

   Constitutional rights and suffered other damages including severe emotional distress entitling

   him to compensatory and special damages, in amounts to be determined at trial.

36. Plaintiff is entitled to attorneys’ fees and costs pursuant to 42 U.S.C. § 1983, pre-judgment

   interest, and costs as allowable by federal law.

37. Plaintiff is also entitled to punitive damages against Defendants pursuant to 42 U.S.C. § 1983

   as Defendants acted maliciously, willfully, or with a reckless and wanton disregard for

   Plaintiff’s Constitutional rights.


                       B.    SECOND CLAIM FOR RELIEF
             (VIOLATION OF SECTION 504 OF THE REHABILITATION ACT)

38. Plaintiff reincorporates and realleges all other paragraphs as if fully set forth herein.




                                                                                                     7
Case 1:19-cv-00218-WYD Document 1 Filed 01/25/19 USDC Colorado Page 8 of 15




39. Section 504 of the Rehabilitation Act (“Section 504”), 29 U.S.C. § 794, and its implementing

   regulations apply to recipients of federal financial assistance from the Department of

   Education. See 34 C.F.R. § 104.2. CSU receives such federal financial assistance and is thus

   subject to Section 504.

40. Among other things, Section 504 requires that:


       A recipient may not, directly or through contractual or other arrangements, utilize
       criteria or methods of administration (i) that have the effect of subjecting qualified
       handicapped persons to discrimination on the basis of handicap, (ii) that have the
       purpose or effect of defeating or substantially impairing accomplishment of the
       objectives of the recipient’s program with respect to handicapped persons, or (iii)
       that perpetuate the discrimination of another recipient if both recipients are
       subject to common administrative control or are agencies of the same states.
       C.F.R. § 104.4(b)(4).

41. With regards to postsecondary educational entities, 34 C.F.R. § 104.43 prohibits universities

   receiving federal funds from excluding, discriminating against, or otherwise denying benefits

   to qualified students on the basis of their handicap.

42. Moreover, any such university must “make such modifications to its academic requirements

   as are necessary to ensure that such requirements do not discriminate or have the effect of

   discriminating, on the basis of handicap, against a qualified handicapped applicant or

   student.” 34 C.F.R. § 104.44(a).

43. Education institutions have a “real obligation… to seek suitable means of reasonably

   accommodating a handicapped person and to submit a factual record indicating that it

   conscientiously carried out this obligation.” Wong v. Regents of the Univ. of California, 192

   F.3d 807, 817 (1999) (quoting Zukle v. Regents of the Univ. of California, 166 F.3d 1041,

   1048 (9th Cir. 1999) and Wynne v. Tufts Univ. Sch. of Med., 932 F.2d 19, 25–26 (1st Cir.

   1991) (en banc)).

44. Plaintiff was and is qualified to attend CSU.




                                                                                                    8
Case 1:19-cv-00218-WYD Document 1 Filed 01/25/19 USDC Colorado Page 9 of 15




45. Despite notice of Plaintiff’s qualifying handicap, CSU intentionally excluded Plaintiff,

   intentionally discriminated against him, was deliberately indifferent to his rights, and

   intentionally denied him benefits solely on the basis of his disability when CSU excluded

   him in the first place and then subsequently failed to readmit him.

46. CSU also failed to carry out its obligation to undertake a conscientious, fact-specific

   investigation of what would constitute a reasonable accommodation, and failed to provide

   Plaintiff with a reasonable accommodation.

47. Defendant CSU’s violation of Plaintiff’s rights under Section 504 caused Plaintiff to suffer

   damages, including but not limited to psychological, emotional, and reputational damages in

   addition to economic damages and the loss of educational and career opportunities, as well as

   attorney’s fees incurred in this action.

                         C. THIRD CLAIM FOR RELIEF
        (VIOLATION OF TITLE II OF THE AMERICANS WITH DISABILITIES ACT)

48. Plaintiff reincorporates and realleges all other paragraphs as if fully set forth herein.

49. Title II of the Americans with Disabilities Act (“Title II”), 42 U.S.C. § 12101, and its

   implementing regulations apply to public entities, such as CSU.

50. Title II bars public entities from discriminating against qualified individuals with a disability

   or, by reason of their disability, excluding them from participation in or denying them the

   benefits of the services, programs, or activities of the public entity. 42 U.S.C. § 12132.

51. Plaintiff’s mental and physical conditions alleged herein constitute disabilities protected

   under Title II.

52. As explained above, Plaintiff was and is qualified to attend CSU.

53. Plaintiff was excluded from participation in or denied the benefits of CSU’s services,

   programs, or activities.

54. That exclusion, denial of benefits, and discrimination was by reason of Plaintiff’s disability.


                                                                                                      9
Case 1:19-cv-00218-WYD Document 1 Filed 01/25/19 USDC Colorado Page 10 of 15




    CSU’s violation of Plaintiff’s rights under Title II caused him to suffer damages, including

    but not limited to psychological, emotional, and reputational damages in addition to

    economic damages and the loss of educational and career opportunities and attorneys’ fees

    and costs in this action.

                           D. FOURTH CLAIM FOR RELIEF
           (BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING – SYSTEM
                                   AND SCHOOL)

 55. Plaintiff reincorporates and realleges all other paragraphs as if fully set forth herein.

 56. Plaintiff's agreement with CSU to provide educational services in exchange for the payment

    of tuition monies qualifies as a contract, involving the mutual exchange of promises, mutual

    assent, and supporting consideration.

 57. Thus, it is subject to the duty of good faith and fair dealing that is implied into every contract,

    under which a contracting party is prohibited from exercising its discretion in a manner that

    contradicts the other party’s reasonable expectations thereunder or in a manner that deprives

    the other of their benefits under the contract.

 58. CSU’s actions in refusing to accommodate Plaintiff, in dismissing him from CSU, and in

    refusing to readmit him once the underlying criminal charges were dismissed breached the

    duty of good faith and fair dealing, causing him to suffer injuries, damages, and losses in an

    amount to be proven at trial.

                          E. FIFTH CLAIM FOR RELIEF
             (VIOLATION OF THE COLORADO ANTI-DISCRIMINATION ACT)

 59. Plaintiff reincorporates and realleges all other paragraphs as if fully set forth herein.

 60. The Colorado Anti-Discrimination Act (“CADA”) prohibits discrimination on the basis of

    disability in places of public accommodation. See C.R.S.A. § 24-34-601 et. seq.

 61. Under C.R.S.A. § 24-34-601(1), a “place of public accommodation” specifically includes “an

    educational institution”.


                                                                                                     10
Case 1:19-cv-00218-WYD Document 1 Filed 01/25/19 USDC Colorado Page 11 of 15




 62. Prohibited discrimination under C.R.S.A. § 24-34-601(2)(a) includes directly or indirectly

    refusing, withholding from, or denying an individual the full and equal enjoyment of the

    goods, services, facilities, privileges, advantages, or accommodations on the basis of their

    disability.

 63. CSU violated CADA through its wrongful actions alleged herein.

 64. CSU’s violations of Plaintiff’s rights under CADA caused Plaintiff to suffer damages,

    including but not limited to psychological, emotional, and reputational damages in addition

    to economic damages and the loss of educational and career opportunities and attorney fees

    and costs in this action.

                                F. SIXTH CLAIM FOR RELIEF
                                  (BREACH OF CONTRACT)

 65. Plaintiff reincorporates and realleges all other paragraphs as if fully set forth herein.

 66. Plaintiff's agreement with CSU to provide educational services in exchange for the payment

    of tuition monies qualifies as a contract, involving the mutual exchange of promises, mutual

    assent, and supporting consideration.

 67. Part of that contract was CSU’s promise to comply with its legal obligations not to

    discriminate against Plaintiff and to accommodate Plaintiff’s disabilities.

 68. Yet, in dismissing him from CSU, and in refusing to readmit him once the underlying

    criminal charges were dismissed breached, and in failing to accommodate his disabilities,

    which actions were unlawful, constitute a breach of that contract and caused him to suffer

    injuries, damages, and losses in an amount to be proven at trial.

                        G. SEVENTH CLAIM FOR RELIEF
        (INTENTIONAL INTERFERENCE WITH CONTRACTUAL OBLIGATIONS)

 69. Plaintiff reincorporates and realleges all other paragraphs as if fully set forth herein.




                                                                                                   11
Case 1:19-cv-00218-WYD Document 1 Filed 01/25/19 USDC Colorado Page 12 of 15




 70. Plaintiff obtained student loans totaling approximately $115,000.00 in order to finance his

    education with CSU.

 71. Plaintiff therefore has an existing contract with a third party, the lender, to repay student

    loans with interest, over time, that were to be repaid by Plaintiff once he was gainfully

    employed in his chosen field through his education at CSU.

 72. CSU knew or reasonably should have known of that contract because information was

    provided to it as part of the payment process indicating the existence of the loan, and in other

    regards orally and/or in writing from the Plaintiff.

 73. CSU, by words or conduct, or both, intentionally caused Plaintiff to be unable to perform his

    contact with the lender. More specifically, by discriminating against him, by failing to

    accommodate his disability, and by both expelling him and refusing to readmit him based on

    dismissed criminal charges, Plaintiff was unable to complete his education, become gainfully

    employed, and then have the financial wherewithal to repay his loan.

 74. CSU’s interference was both intentional and wrongful, because that interference was illegal

    and violated Plaintiff’s rights as alleged more specifically herein.

 75. CSU’s interference caused Plaintiff to suffer injuries, damages, and losses in an amount to be

    proven at trial.



                                H. EIGHTH CLAIM FOR RELIEF
                                     (ABUSE OF PROCESS)

 76. Plaintiff reincorporates and realleges all other paragraphs as if fully set forth herein.

 77. CSU intentionally caused Plaintiff to be removed from its educational programs through a

    disciplinary proceeding, and then refused to readmit him through a separate process after the

    criminal charges against him were dismissed.




                                                                                                     12
Case 1:19-cv-00218-WYD Document 1 Filed 01/25/19 USDC Colorado Page 13 of 15




 78. The principal reason for CSU’s action was other than to discipline Plaintiff for a legitimate

     violation of CSU’s rules and policies, but instead to retaliate against him and then refuse to

     readmit him even after the justification for the disciplinary action had been removed.

 79. CSU’s actions caused Plaintiff to suffer injuries, damages, and losses in an amount to be

     proven at trial.




                         I.      NINTH CLAIM FOR RELIEF
                                 (DECLARATORY AND INJUNCTIVE RELIEF)

 80. Plaintiff realleges all other paragraphs as if fully set forth herein.

 81. This is a civil rights suit in part requesting declaratory relief and injunctive relief pursuant to

     42 U.S.C. § 1983 and 28 U.S.C. §§ 2201-2202 brought by Plaintiff to enjoin enforcement of

     the discriminatory conduct alleged above.

 82. WHEREFORE, Plaintiff requests declaratory judgment enter in his favor and against the

     Defendants that: Defendants’ rules, regulation, policy, and procedures are unconstitutional

     and void; and Defendants have under color of law and deprived him of his rights, privileges,

     and immunities as guaranteed by the Constitution and Laws of the United States.

 83. Plaintiff further requests that the Court: (1) issue a temporary restraining order and a

     preliminary injunction pursuant to F.R.C.P. 65, ordering Defendants, their officers, agents,

     employees, successors, attorneys, and all those in active concert or participation with them to

     refrain immediately and pending the final hearing and determination of this action from

     discriminatory conduct; (2) issue a permanent injunction perpetually enjoining and

     restraining Defendants, their officers, agents, employees, successors, attorneys, and all those

     in active concert or participation with them, of the conduct complained; (3) award to

     Plaintiff costs and disbursements, as well as reasonable attorney’s fees; and (4) award




                                                                                                      13
Case 1:19-cv-00218-WYD Document 1 Filed 01/25/19 USDC Colorado Page 14 of 15




    Plaintiff such other and further relief as this Court may deem proper, including but not

    limited to requiring Defendants to effect proper training to prevent the recurrence of such

    conduct in their hiring, firing, training and educational policies and procedures.

 84. WHEREFORE, Plaintiff requests that judgment enter in his favor and against the Defendants

    jointly and severally, in an amount to be determined by a judge or jury and that the Court

    also award the Plaintiff his legal fees and costs incurred in pursuing this action.




                                      V. PRAYER FOR RELIEF
        Plaintiff requests that the Court enter judgment in its favor and against the Defendants on

 each claim for relief, and award the following in addition to the relief sought and alleged in the

 individual claims:

 85. Awarding the Plaintiff special damages for front lost wages, future wages, benefits, and out-

    of- pocket expenses in amounts to be established at trail;

 86. Awarding the Plaintiff general damages for emotional distress in an amount to be established

    at trial;

 87. Punitive damages, pursuant to 42 U.S.C. § 1981, 2000(e), in the maximum amount permitted

    by law;

 88. Awarding the Plaintiff statutory and reasonable attorney fees, litigation expenses, and costs

    incurred in this action;

 89. Awarding the Plaintiff prejudgment interest;

 90. Awarding the Plaintiff any additional and further relief that the court finds equitable,

    appropriate, or just.




                                                                                                      14
Case 1:19-cv-00218-WYD Document 1 Filed 01/25/19 USDC Colorado Page 15 of 15




                PLAINTIFF REQUESTS A JURY ON ALL ISSUES SO TRIABLE




    s/ Tyler Jeffery
    Tyler Jeffery, Esq.
    Kishinevsky & Raykin, Attorneys at Law
    2851 South Parker Road, Suite 150
    Aurora, CO 80014
    Telephone: (720) 588-2096
    E-mail: tyler@coloradolawteam.com

    s/ Igor Raykin
    Igor Raykin, Esq.
    Kishinevsky & Raykin, Attorneys at Law
    2851 South Parker Road, Suite 150
    Aurora, CO 80014
    Telephone: (720) 767-1846
    E-mail: igor@coloradolawteam.com

    Attorneys for Plaintiff




                                                                         15
